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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                                                    CASE NO. 21-15502-BKC-LMI
                                                                    CHAPTER 13
ALINA MORENO
     Debtor.
______________________/

               APPLICATION FOR FEES BY ATTORNEY FOR DEBTOR


        Pursuant to Court Order, the undersigned files this Application for Fees by
Attorney for the Debtors in the above case and state:
        1.    The rate normally charged by the undersigned and is considered
reasonable in the community in a matter such as this, is $550.00 per hour.
        2.    The Law Offices of Frank & De La Guardia, Jr. have expended
(11.60) hours at the rate of $550.00 per hour from November 13, 2020. A delineation of
the time expended is as follows:

 Date        Description                                                                      Hours


 11-13-20    Initial Consultation with Client and Opening of File                                1.00

 12-28-20    Consultation with Client                                                            1.00

 06-03-21    Consultation with Client to Review Docum ents for Filing and Prepared               1.50
             Case for filing and filed Case

 06-03-21    Prepared and filed Means Test                                                       1.00

 06-04-21    Received and reviewed Notice of Incom plete Filings Due                             0.10

 06-04-21    Received and reviewed Request for Notice Filed by Creditor Synchrony                0.10
             Bank

 06-07-21    Received and reviewed Trustee's Notice of Required Docum ents                       0.10

 06-08-21    Prepared and Filed Certification        of   Com pliance   and   Request   for      0.10
             Confirm ation of Chapter 13 Plan

 06-15-21    Prepared and filed Chapter 13 Plan                                                  1.00

 06-04-21    Received and reviewed Notice of Com m encem ent                                     0.10
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 07-20-21         Received and reviewed Trustee's Notice of Deficiency for Confirm ation                      0.10

 07-21-21         Prepared and Filed First Am ended Chapter 13 Plan                                           0.80

 07-27-21         Prepared and filed Objection to Claim of Hyundai Capital Am erica [#2]                      0.50

 07-27-21         Received and reviewed Notice of Hearing on Objection to Claim of Creditor                   0.10
                  Hyundai Capital Am erica [#2]

 07-29-21         Prepared for 341 Meeting of Creditors                                                       0.50

 07-29-21         Attended 341 Meeting of Creditors                                                           0.50

 07-30-21         Received and reviewed Trustee's Notice of Deficiency for Confirm ation                      0.10

 08-10-21         Prepared and Attended Hearing on Objection to Claim of Hyundai Capital                      0.50
                  Am erica [#2]

 09-02-21         Received and reviewed Trustee's Notice of Deficiency for Confirm ation                      0.10

 09-08-21         Pre-hearing with Trustee regarding Confirm ation Hearing                                    0.10

 09-08-21         Reviewed file for Confirm ation Hearing                                                     0.20

 09-08-21         Called Client regarding Confirm ation Hearing                                               0.20

 09-09-21         Attended Confirm ation Hearing                                                              0.40

                  Prepared and filed Application for Fees and review of file.                                 1.00

                  Attendance at Hearing on Application for Fees.                                              0.50

 Total Hours..................................................                                        11.60

                                                                            11.60 hours x $550.00 =   $ 6,380.00


         The total fee requested is $6,000.00. The Debtors’ attorney has received
$2,000.00 in fees. The total amount of work performed pre-Confirmation is (11.60)
hours at $550.00 an hour = $6,380.00. The undersigned submits that the amount of
$6,000.00 for all of the work that has been performed and all of the future work to be
performed is reasonable pursuant to the standard set forth In re: Norman vs. Housing
Authority of Montgomery, 836 F. 2nd 1299 (11th Cir. 1988) and 11 U.S.C. Section 330.
There are no charges in this Application for Fees for secretarial or typing time and no
charges have been added for travel time to and from the Courthouse for any of the
hearings.
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         WHEREFORE, the Debtor requests to be awarded fees in the amount of
$6,000.00.
                                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the Southern District
of Florida and I am in compliance with the additional qualifications to practice in this Court set forth in Local Rule
2090-1(A) and that a true and correct copy of this Notice of Hearing and the Application for Fees by Attorney for
Debtors was sent by e-mail to Nancy K. Neidich, Trustee at e2c8f01@ch13herkert.com and all others set forth in NEF
on September 9, 2021, and this Motion and an upcoming Notice of Hearing will be served on a separate Certificate of
Service via email to those set forth above and by regular mail to: Alina Moreno, Debtors, 1323 SW 92 Place, Miami,
FL 33174.

                                             LAW OFFICES OF MICHAEL A. FRANK
                                             & RODOLFO H. DE LA GUARDIA, JR.
                                             Attorneys for the Debtors
                                             Suite 620 • Union Planters Bank Building
                                             10 Northwest LeJeune Road
                                             Miami, FL 33126-5431
                                             Telephone (305) 443-4217
                                             Facsimile (305) 443-3219

                                             By /s/ Michael A. Frank
                                               Michael A. Frank
                                               Florida Bar No. 339075
